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   13                             UNITED STATES DISTRICT COURT
   14                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15
        Amazon Content Services, LLC;           Case No. 2:18-CV-03325-MWF (AS)
   16 Columbia Pictures Industries, Inc.;
        Disney Enterprises, Inc.; Netflix       [PROPOSED] ORDER GRANTING
   17 Studios, LLC; Paramount Pictures          PLAINTIFFS’ MOTION FOR
        Corporation; Sony Pictures Television   DEFAULT JUDGMENT AND
   18 Inc.; Twentieth Century Fox Film          PERMANENT INJUNCTION
        Corporation; Universal City Studios     AGAINST DEFENDANTS JASON
   19 Productions LLLP; Universal Cable         LABOSSIERE AND NELSON
        Productions LLC; Universal Television   JOHNSON
   20 LLC; Warner Bros. Entertainment Inc.,

   21                   Plaintiffs,
   22            vs.
   23 Set Broadcast, LLC d/b/a Setvnow;
        Jason Labossiere; Nelson Johnson,
   24
                        Defendants.
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    1            The above-titled matter came before the Honorable Michael W. Fitzgerald,
    2 United States District Judge, presiding in Courtroom 5A of the above-titled Court,

    3 pursuant to Plaintiffs Amazon Content Services, LLC, Columbia Pictures Industries,

    4 Inc., Disney Enterprises, Inc., Netflix Studios, LLC, Paramount Pictures

    5 Corporation, Twentieth Century Fox Film Corporation, Universal City Studios

    6 Productions LLLP, and Warner Bros. Entertainment Inc.’s (“Plaintiffs”) Motion for

    7 Default Judgment Against Defendants Jason Labossiere (“Labossiere”) and Nelson

    8 Johnson (“Johnson”) (Labossiere and Nelson are also referred to jointly as the

    9 “Individual Defendants”).

   10            The Individual Defendants were regularly served with process and then failed
   11 to plead or otherwise defend this action. The Individual Defendants’ default was

   12 entered by the Clerk of Court on September 23, 2019. ECF Dkt. 63. Plaintiffs have

   13 requested judgment and a permanent injunction against the defaulted Individual

   14 Defendants. The Court has considered Plaintiffs’ Motion and supporting papers.

   15 The Court previously entered judgment and a permanent injunction against the

   16 defaulted co-defendant Set Broadcast, LLC d/b/a Setvnow on July 31, 2019. ECF

   17 Dkt. 59.

   18            Good cause having been shown and pursuant to Rules 54, 55(b)(2), 58(a), and
   19 65 of the Federal Rules of Civil Procedure, IT IS HEREBY ORDERED,

   20 ADJUDGED AND DECREED that judgment be entered as follows:

   21            1.    Labossiere and Johnson are liable, on a joint and several basis, for the
   22 payment of the $7,650,000 in damages previously awarded to Plaintiffs.

   23            2.    Labossiere and Johnson are liable, on a joint and several basis, for the
   24 payment of post-judgment interest, pursuant to 28 U.S.C. § 1961(a), “at a rate equal

   25 to the weekly average 1-year constant maturity Treasury yield, as published by the

   26 Board of Governors of the Federal Reserve System, for the calendar week preceding

   27 the date of the judgment.”

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                                                                                  [PROPOSED] ORDER;
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    1            3.   Labossiere and Johnson, all of their agents, servants, and employees,
    2 and all persons in active concert or participation or in privity with any of them who

    3 receive actual notice of this Order are immediately and permanently enjoined

    4 according to the following terms:

    5            4.   For the purposes of this Judgment and Permanent Injunction against
    6 Defendant, the following definitions shall apply:

    7                 a.    “ST-110 set-top box” shall refer to the hardware devices pre-
    8 loaded with copyright infringing software, addons, programs, applications, and all

    9 related services that Defendant marketed, promoted, sold, and supported.

   10                 b.    “Setvnow service” shall refer to the copyright infringing
   11 software, programs, applications, and services that transmit or otherwise

   12 communicate television programs and motion pictures over the Internet that

   13 Defendants marketed, promoted, sold, and supported.

   14                 c.    “Copyrighted Works” shall mean all copyrighted works (and
   15 any portions thereof) in which the Plaintiffs, individually or jointly, (or any

   16 parent, subsidiary, or affiliate of any of the Plaintiffs) owns or controls an

   17 exclusive right under the United States Copyright Act, 17 U.S.C. §§ 101 et seq.

   18            5.   Labossiere and Johnson shall be permanently restrained and enjoined
   19 from infringing, by any means, directly or indirectly, any of Plaintiffs’ exclusive

   20 rights under the Copyright Act in the Copyrighted Works. Labossiere and Johnson

   21 are further permanently enjoined as follows:

   22                 a.    They shall permanently cease all operation of the Setvnow
   23 service and ST-110 set-top box, including without limitation services related to the

   24 Setvnow service within five (5) days of entry of this Judgment and Permanent

   25 Injunction.

   26                 b.    They shall be further enjoined from operating any website,
   27 system, software, or service that is substantially similar to the Setvnow service.

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                                                                                [PROPOSED] ORDER;
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    1                 c.    They shall be further enjoined from distributing, selling,
    2 advertising, marketing, or promoting the ST-110 set-top box or any substantially

    3 similar computer hardware device or related software that contains, connects to,

    4 transmits, , streams, hosts, provides access to, or otherwise publicly performs,

    5 directly or indirectly, by means of any device or process, Plaintiffs’ Copyrighted

    6 Works without authorization.

    7                 d.    They shall not directly or indirectly take any additional steps to
    8 release publicly, distribute, transfer, or give any source code, object code, other

    9 technology, domain names, trademarks, brands, assets or goodwill in any way

   10 related to the Setvnow service.

   11            6.   Service by mail upon the Individual Defendants of a copy of this
   12 Default Judgment and Permanent Injunction, once entered by the Court, is deemed

   13 sufficient notice to the Individual Defendants under Federal Rule of Civil Procedure

   14 65. It shall not be necessary for the Individual Defendants to sign any form of

   15 acknowledgement of service.

   16            7.   This Permanent Injunction shall bind the Individual Defendants and all
   17 of their agents, servants, and employees, and all persons in active concert or

   18 participation or in privity with any of them who receive actual notice of this
   19 Permanent Injunction. The Individual Defendants shall provide a copy of this

   20 Permanent Injunction to their agents, servants, employees, attorneys, and current

   21 and future administrators or moderators of the any online forums associated with Set

   22 Broadcast.

   23            8.   Violation of this Permanent Injunction shall expose the Individual
   24 Defendants and all other persons bound by this Permanent Injunction to all

   25 applicable penalties, including contempt of Court.

   26            9.   Within 14 days of the date the Court enters this Default Judgment and
   27 Permanent Injunction, the Individual Defendants shall file and serve a report in

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                                                                                 [PROPOSED] ORDER;
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    1 writing and under oath setting forth in detail the manner and form with which they

    2 have complied with the Permanent Injunction.

    3            10.   The Court finds there is no just reason for delay in entering this Default
    4 Judgment and Permanent Injunction and, pursuant to Fed. R. Civ. P. 54(a), the Court

    5 directs immediate entry of this Default Judgment and Permanent Injunction.

    6            11.   The Court shall retain jurisdiction of this action to entertain such
    7 further proceedings and to enter such further orders as may be necessary or

    8 appropriate to implement and enforce the provisions of this Default Judgment and

    9 Permanent Injunction.

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   11 IT IS SO ORDERED

   12 DATED: November ___, 2019

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                                                  UNITED STATES DISTRICT JUDGE
                                                  HON. MICHAEL W. FITZGERALD
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                                                                                   [PROPOSED] ORDER;
                                                                      Case No. 2:18-CV-03325-MWF (AS)
